       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Rudolph David Taylor
       v. Commonwealth of Virginia
       Record No. 1330-15-3
       Opinion rendered by Judge Chafin on
        September 13, 2016

    2. Rudolph David Taylor
       v. Commonwealth of Virginia
       Record No. 1340-15-3
       Opinion rendered by Judge Chafin on
        September 13, 2016

    3. Mall Amusements, LLC, d/b/a King Pinz
       v. Virginia Department of Alcoholic Beverage Control
       Record No. 1893-15-4
       Opinion rendered by Judge Beales on
        September 13, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Charles Staton
   v. The Brothers Signal Company and Commonwealth Contractors Group
     Self-Insurance Association
   Record No. 1304-15-4
   Opinion rendered by Judge James W. Haley, Jr.
    on April 5, 2016
   Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2) and (B)
         On October 27, 2016 the Supreme Court issued opinions in the following cases,
   which had been appealed from this Court:

1. Marvin Hines
   v. Commonwealth of Virginia
   Record No. 1496-14-1
   CAV petition for appeal denied by Judge Alston on February 12, 2015
    and by Judges Russell, McCullough and Senior Judge Frank on May 1, 2015
   Judgment of Court of Appeals reversed and final judgment entered vacating convictions
   (151066)

2. German Cortes Velazquez
   v. Commonwealth of Virginia
   Record No. 2157-14-3
   CAV petition for appeal denied by Judge O’Brien on May 20, 2015
   Judgment of Court of Appeals affirmed
   (150849)
